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Attorney for Defendant



                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF OREGON



UNITED STATES OF AMERICA,                          No. 3:20-cr-00464-SI

                                  Plaintiff,
                                                   DECLARATION OF COUNSEL IN
                     v.                            SUPPORT OF UNOPPOSED MOTION
                                                   TO CONTINUE TRIAL DATE
PHILLIP JOHN WENZEL,

                               Defendant.

I, Conor Huseby, declare:

       1.      I represent Phillip Wenzel who is charged with one count of Civil Disorder.

Trial is set for June 1, 2021. Mr. Wenzel is out of custody and in full compliance with the

terms of his release.

       2.      This is the third request to continue a trial date from the parties in this case.




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       3.      The parties have reached a deferred resolution agreement in this case. The

agreement requires Mr. Wenzel to set his trial over to a date beyond the date on which

his deferred resolution agreement will expire on September 28, 2021. If Mr. Wenzel

remains in compliance with the agreement, the government will dismiss this case on

September 28, 2021.

       4.      The ends of justice served by granting this motion in order to resolve this

case outweigh the best interest of the public and defendant in a speedy trial. See 18 U.S.C.

§ 3161(h)(7)(A).

       5.      I have discussed this requested continuance with counsel for the

government, Thomas Ratcliffe, and he has no objection to this requested continuance.

       6.      I have spoken with Mr. Wenzel, explained the reasons for requesting a

continuance, and the rights that he has under the Speedy Trial Act. Mr. Wenzel agrees

with defense counsel’s request for a continuance and waives his rights under the Speedy

Trial Act.

       I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct to the best of my knowledge and belief and that this

declaration was executed on March 15, 2021, in Portland, Oregon.

                                          /s/ Conor Huseby
                                          Conor Huseby
                                          Assistant Federal Public Defender


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       TRIAL DATE
